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                         Exhibit 1
             Declaration of Andraya Yearwood
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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


SELINA SOULE, et al.,                              )
                                                   )
                        Plaintiffs,                )
                                                   )
       v.                                          )              No. 3:20-cv-00201-RNC
                                                   )
CONNECTICUT ASSOCIATION OF                         )         DECLARATION OF ANDRAYA
SCHOOLS, INC. et al,                               )               YEARWOOD
                                                   )
                        Defendants       )
                                         )
ANDRAYA YEARWOOD and THANIA              )
EDWARDS on behalf of her daughter, T.M., )                            February 20, 2020
                                         )
                Proposed Intervenors     )
                                         )
                                         )


 DECLARATION OF ANDRAYA YEARWOOD IN SUPPORT OF MOTION TO
                       INTERVENE
I, Andraya Yearwood, declare as follows:

   1. I am eighteen years old and live in Cromwell, CT. I attend Cromwell High School

where I am a senior.

   2. I was assigned the sex of male at birth but have always known I was a girl. It was

always something that just felt true inside but I did not have the words to share it until I

came out as transgender the summer before I started eighth grade. My family supported

me throughout my transition. By the time I started high school I was known to everyone

as a girl and ever since I have been living all aspects of my life as a girl.
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    3. I legally changed my name to Andraya and underwent puberty blocking treatment

such that I never went through full puberty in my assigned sex. I currently take hormone

therapy and have hormone levels typical of non-transgender girls.

    4. I started to run track when I was in seventh grade. I love to run and particularly

enjoy the connection to and camaraderie with my teammates. Running has been so

important for my identity, my growth as a person, and my ability to survive in a world

that discriminates against me.

    5. I am thankful that I live in Connecticut where I can be treated as a girl in all

aspects of life and not face discrimination at school.

    6. I have been running on the girls' team since ninth grade and I have always been

supported by my teammates and coaches. Everyone at my school knows me and treats me

as a girl.

    7. During the track season I train 2 hours each day, 5 days each week. I work hard in

every thing I do.

    8. Both my running and my mental health are negatively impacted by all the media

attention and language that people use calling me a "boy" and a "cheater" and saying it is

"unfair" for me to run.

    9. If I was not on a team for girls, then I would not be able to be on any team.

    10. It can be difficult for people to understand but my identity as a girl is just as real

as other girls and when I am told that I am a boy or a male, it makes me want to stop

running.
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   11. At the Connecticut State Championship for Class S, I was disqualified in the 55m

and my indoor season for the 55m is over. I run track for the full experience and not just

to win. In fact, I have frequently placed below the top spots and still enjoy the chance to

participate in the sport I love. At multiple meets, Chelsea Mitchell and other

non-transgender girls have placed ahead of me in the 55m, the 100m and other races.

    12. I have been completely demoralized by the all the negative attention surrounding

my high school track career and hope that I can move on to other things in college. I have

not been recruited to run track in college and at this time I intend to finish my track career

this season. For my final high school season, the only way I can be a part of track is if I

continue to participate on the girls' team. I have been on the team for four years, I am a

girl, and I want to be treated like a girl.



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

DATED: February 20, 2020
                                                              ANDRAYA YEARWOOD
